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  IT IS ORDERED as set forth below:



  Date: August 12, 2021
                                                    _____________________________________
                                                               Lisa Ritchey Craig
                                                          U.S. Bankruptcy Court Judge

 _______________________________________________________________
                 UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION




                                               )      CHAPTER 7
IN RE:                                         )
                                               )      CASE NO. 18-68507-LRC
DONALD RENALDO WHITING, III a.k.a.             )
DONALD WHITING,                                )
                                               )
        Debtor.                                )
                                               )
S. GREGORY HAYS, Chapter 7 Trustee             )
For the Estate of Donald Renaldo Whiting, III, )
                                               )
        Movant,                                )
v.                                             )      CONTESTED MATTER
                                               )
PENNYMAC LOAN SERVICES, LLC,                   )
STONEY CREEK ESTATES HOMEOWNERS )
ASSOCIATION, INC.,                             )
CLAYTON COUNTY TAX COMMISSIONER, )
GEORGIA DEPARTMENT OF REVENUE,                 )
DONALD RENALDO WHITING, III,                   )
                                               )
        Respondents.                           )

              ORDER ON TRUSTEE’S MOTION FOR AUTHORITY TO
  (A) SELL PROPERTY OF THE BANKRUPTCY ESTATE FREE AND CLEAR OF ALL
      LIENS, INTERESTS, AND ENCUMBRANCES AND (B) DISBURSE CERTAIN
                          PROCEEDS AT CLOSING


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        On July 14, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Donald Renaldo Whiting, III a.k.a. Donald Whiting

(“Debtor”), filed Trustee’s Motion for Authority to (A) Sell of Property of the Bankruptcy Estate

Free and Clear of Liens, Interests, and Encumbrances and (B) Disbursement of Certain

Proceeds at Closing [Doc. No. 73] (the “Sale Motion”), pursuant to 11 U.S.C. §§ 363(b), (f),

and (m), and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c), and 9014. In the Sale Motion,

Trustee sought, among other things, an order from the Court authorizing the sale (the “Sale”) of

that certain real property known generally as 1162 Lehavre Court, Hampton, Clayton County,

Georgia 30228 (the “Property”) to Samantha Metelus (the “Purchaser”) for a sale price of

$257,000.00 in accordance with the terms of a Purchase and Sale Agreement (the “Contract”)

attached to the Sale Motion as Exhibit “A.”

        Also on July 14, 2021, Trustee filed a Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 75] (the “Notice”) regarding the Sale Motion, in accordance with General

Order No. 24-2018.        Counsel for Trustee certifies that he served the Notice on all

requisite parties in interest on July 14, 2021. [Doc. No. 76].

        The Notice provided notice of the opportunity to object and for hearing scheduled for

August 25, 2021 at 10:15 a.m., pursuant to the procedures in General Order No. 24-2018. No

objection to the Sale Motion was filed prior to the objection deadline provided in the Notice.

        Having considered the Sale Motion and all other matters of record, including the lack of

objection by any creditor or party in interest to the relief requested in the Sale Motion, and based

on the foregoing, finding that no further notice or hearing is necessary; and, the Court having

found good cause exists to grant the relief requested in the Sale Motion, it is hereby

        ORDERED that the Sale Motion is GRANTED. It is further



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        ORDERED that the Contract is APPROVED and its terms are incorporated into this

Order. It is further

        ORDERED that Trustee is authorized and directed to take any and all actions necessary

or appropriate to (a) consummate the Sale of the Property to Purchaser and perform under the

terms of the Contract; (b) execute, perform, consummate, implement, and close fully the Sale

together with all additional instruments and documents that may be reasonably necessary; and (c)

execute and perform all of the obligations of Trustee under the Contract. It is further

        ORDERED that this Order shall be binding upon all creditors (whether known or

unknown) of Debtor, Purchaser, Trustee, the Bankruptcy Estate, and their respective successors,

assigns, affiliates, and subsidiaries. It is further

        ORDERED that upon consummation of the closing of the Sale, the Property shall be

transferred and assigned to Purchaser free and clear of all liens, claims, interests, and

encumbrances with all unpaid, valid, and enforceable liens, claims, interests, or encumbrances

attaching to the sale proceeds with the same extent, validity, and priority that they held in the

Property. It is further

        ORDERED that the Sale of the Property to the Purchaser is “as is,” “where is,” and

without representation or warranty, express or implied, from Trustee. It is further

        ORDERED that the transactions contemplated by the Contract and this Order are

undertaken by the Purchaser in good faith, as that term is used in Section 363(m) of the

Bankruptcy Code, and accordingly, the reversal or modification on appeal of the authorization

provided herein to consummate the Sale of the Property shall not affect the validity of the Sale to

the Purchaser, unless such authorization is duly stayed pending such appeal. The Purchaser is a

purchaser in good faith of the Property, and she is entitled to all the protections afforded by



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Section 363(m) of the Bankruptcy Code. It is further

        ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of

any person or entity obtaining a stay pending appeal, Trustee and Purchaser are free to close the

Sale of the Property at any time, at which time the gross sales proceeds shall be paid to Trustee

pursuant to this Order, and those disbursements requested by the Trustee in his Sale Motion are

authorized to be made, including but not limited to, payment to Debtor for his homestead

exemption in the amount of $21,500.00 (“Homestead Exemption”), care of his attorney, E. L.

Clark, Clark & Washington, LLC. Alternatively, Debtor may attend the closing and receive his

Homestead Exemption after providing proper identification. It is further

        ORDERED that this Court retains exclusive jurisdiction over any action relating to,

based upon, or arising from disputes or controversies relating to or concerning the Sale, the

Contract, or this Order.

                                    [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Chapter 7 Trustee

By:/s/ Michael J. Bargar
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Identification of parties to be served:

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Atlanta, Georgia 30303

S. Gregory Hays, Chapter 7 Trustee, Hays, Financial Consulting, LLC, Suite 555, 2964
Peachtree Road, Atlanta, GA 30305

PennyMac Loan Services, LLC, c/o Brian K. Jordan, Aldridge Pite, LLP, Fifteen Piedmont
Center, 3575 Piedmont Road, N.E., Suite 500, Atlanta, GA 30305

Georgia Department of Revenue, Bankruptcy Section, Post Office Box 161108, Atlanta, Georgia
30321

Georgia Department of Revenue, Taxpayer Services, Post Office Box 1054990, Atlanta, Georgia
30348

Georgia Department of Revenue, Sales and Use Tax, Post Office Box 105296, Atlanta, Georgia
30348

Office of the Attorney General, 40 Capitol Square, SW, Atlanta, GA 303340

The Stoney Creek Estates Homeowners Association, Inc., c/o Dana M. Tucker Davis, Tucker
Davis Law, LLC, 2675 Paces Ferry Road, Suite 215, Atlanta, GA 30339

Bobby Meadows, Jr., CEO, Stoney Creek Estates Homeowners Association, Inc., 250 Georgia
Avenue E, Suite 144094, Fayetteville, GA 30214

Terry L. Baskin, Clayton County Tax Commissioner, Clayton County Administration, Annex 3,
2nd Floor, 121 South McDonough Street, Jonesboro, GA 30236

E. L. Clark, Clark & Washington, LLC, Building 3, 3300 Northeast Expressway, Atlanta, GA
30341

Donald Renaldo Whiting, III, 1162 Lahavre Court, Hampton, GA 30228

Michael Campbell, Campbell & Brannon, LLC, Attention: Denise Hammock, 5565 Glenridge
Connector, Suite 350, Atlanta, GA 30342

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA
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